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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   ) Chapter 11
                                                         )
WARDMAN HOTEL OWNER, L.L.C.                              ) Case No. 21-10023 (JTD)
                                                         )
                                Debtor.                  )
                                                         )

                                   CERTIFICATE OF SERVICE


                 I, Laura Davis Jones, hereby certify that on the 2nd day of September, 2021, I caused

a copy of the following document(s) to be served on the individuals on the attached service list(s) in

the manner indicated:

                 NOTICE OF FILING OF PLAN SUPPLEMENT WITH RESPECT TO THE
                 DEBTOR’S PLAN OF LIQUIDATION PURSUANT TO CHAPTER 11 OF
                 THE BANKRUPTCY CODE


                                                      /s/ Laura Davis Jones
                                                      Laura Davis Jones (DE Bar No. 2436)




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Wardman Hotel Owners 2002 SL EXPEDITED
Case No. 21-10023 (JTD)                             OVERNIGHT DELIVERY
Doc No. 232458v1                                    (Top 20 Creditor)
02 - Express Mail                                   Marriott Hotel Service, Inc.
07 - Overnight Delivery                             Attn: Legal Department
40 - Electronic Mail                                10400 Fernwood Road
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